Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 1 of 17 PageID #: 1



Sheehan & Associates, P.C.
Spencer Sheehan
505 Northern Blvd Ste 311
Great Neck NY 11021-5101
Telephone: (516) 303-0552
Fax: (516) 234-7800
spencer@spencersheehan.com

Reese LLP
Michael R. Reese
100 West 93rd Street, 16th Floor
New York, NY 10025
Telephone: (212) 643-0500
Facsimile: (212) 253-4272
mreese@reesellp.com

United States District Court
Eastern District of New York                                     1:20-cv-00711

Monique Salerno, individually and on
behalf of all others similarly situated,
                               Plaintiff,

                 - against -                                       Complaint

The Coca-Cola Company,
                               Defendant

       Plaintiff by attorneys alleges upon information and belief, except for allegations pertaining

to plaintiff, which are based on personal knowledge:


       1.    The Coca-Cola Company (“defendant”) manufactures, distributes, markets, labels

and sells iced tea beverages purporting to be low in sugar under the Gold Peak brand (“Products”).

       2.    The Products are available to consumers from retail and online stores of third-parties

and are sold in bottles in sizes including 18.5 OZ (547 ML).

       3.    The relevant front label statements include “Slightly Sweet,” “Tea” and “Sweetened

with 50% less sugar than our original sweet tea” and “90 Calories Per Bottle.”

                                                1
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 2 of 17 PageID #: 2




       4.    The representations are misleading because though being represented as low in sugar,

they actually contain objectively high amounts of sugar, as added sugar.


I.     Increasing Consumer Avoidance of Sugar and Sweetened Food and Beverages

       5.    In 2014, the National Institutes of Health cautioned: “experts agree that Americans
                                                2
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 3 of 17 PageID #: 3



eat and drink way too much sugar, and it’s contributing to the obesity epidemic. Much of the sugar

we eat isn’t found naturally in food but is added during processing or preparation.”1

        6.     The NIH noted further: “[s]everal studies have found a direct link between excess

sugar consumption and obesity and cardiovascular problems worldwide.”2

        7.     There has long been a consensus among doctors and nutritionists that “[e]ating too

much sugar contributes to numerous health problems, including weight gain, Type 2 diabetes,

dental caries, metabolic syndrome and heart disease, and even indirectly to cancer because of

certain cancers’ relationship to obesity.”3

        8.     In addition, “there is emerging research that suggests high-sugar diets may increase

the risk of developing [dementia].”4

        9.     At least in part due to growing consumer awareness of health problems caused by

excessive sugar consumption, in recent years consumers have shown a distinct preference for

products with little or no added sugar.

        10.    In August 2016, an article in “Prepared Foods” magazine noted that “[o]ngoing

concerns about obesity and sugar intake have driven interest in reduced sugar and diet drinks in

recent years.”5

        11.    As another observer of the food industry explained in May 2017: “[h]ealth concerns

and better educated consumers are propelling the demand for sugar reduction across food and

beverage categories…Sugar reduction will be one of the top marketing claims prominently




1
  NIH, Sweet Stuff: How Sugars and Sweeteners Affect Your Health, October 2014.
2
  Id.
3
  Marlene Cimons, Eating too much sugar can hurt your health, and for some it’s actually addictive, Washington Post
December 16, 2017.
4
  Kieron Rooney, Yes, too much sugar is bad for our health – here’s what the science says, The Conversation, March
8, 2018.
5
  PreparedFoods.com, Trends in Sugar Reduction and Natural Sweeteners, August 24, 2016.
                                                        3
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 4 of 17 PageID #: 4



featured on products in       the coming year…”6

        12.    Similarly, an article in the February 28, 2018, edition of “Food Business News”

reported that “[s]peakers addressing consumer trends at the International Sweetener Colloquium

in Orlando on February 13 said sugar avoidance was a macro trend ‘that is here to stay and will

only increase.’”7

        13.     The same article noted that “I.R.I. [Information Resources, Inc.] surveys show that

58% of consumers across generations are avoiding sugar. . . [and of] those avoiding sugar, 85%

are doing so for health reasons and 58% for weight concerns.”8


II.     Nutrition Authorities Promote Limited Consumption of Added Sugars

        14.    The 2015-2020 Dietary Guidelines for Americans (“DGA”) recommended that

added sugar make up no more than 10 percent of all calories consumed per day.9

        15.    Based on an average of 2,000 calories per day, this means the maximum daily amount

of added sugars should not exceed 200 calories or 50 grams of sugar.

        16.    The FDA adopted the daily value (DV) of added sugar determined by the DGA and

“concluded that there is strong and consistent evidence that healthy dietary patterns characterized,

in part, by lower intakes of sugar sweetened foods and beverages relative to less healthy patterns,

are associated with a reduced risk of CVD (Cardiovascular disease).”10

        17.    To promote the consumption of less sugar, the FDA instituted a requirement that

added sugars be displayed with a percent daily value (DV) in a food so consumers would be aware


6
  Laura Dembitzer, Less is More: Sugar Reduction, Less Sodium & Low-FODMAPS in Food, Beverage, Food Insider
Journal, May 09, 2017.
7
  Ron Sterk, Avoidance of sugar remains macro trend, Food Business News, February 28, 2018
8
  Id.
9
  2 U.S. Health & Human Servs., U.S. Dept. of Agriculture, Dietary Guidelines for Americans 2015-2020, 8th Ed.
(Dec. 2015).
10
   Center for Science in Public Interest, Letter to FDA Requesting Enforcement Action on Unauthorized Low Sugar
Claims, January 9, 2020.
                                                      4
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 5 of 17 PageID #: 5



of and limit its consumption.


III.   Implied Nutrient Content Claims of “Low Sugar” are Prohibited and Can Be Misleading

       18.    Low sugar products are generally marketed towards consumers seeking products that

are useful in “weight control,” through consumption of fewer calories. See N. J. Patterson et al.,

“Consumer understanding of sugar claims on food and drink products,” Nutrition bulletin, 37.2

(2012): 121-130 (“In focus groups, participants felt deceived if sugar reduction claims were being

made without a significant reduction in calories.”).

       19.    Representations that characterize the level of a nutrient are specifically limited and

can only be made in accordance with an authorizing regulation. 21 U.S.C. § 343(r)(2)(A); see 21

C.F.R. § 101.13 (“general principles”); see also 21 C.F.R. §§ 101.54-101.69 (“Subpart D—

Specific Requirements for Nutrient Content Claims”).

       20.    Nutrient content claims for sugar were originally in a section of regulations for

“dietary foods” as 21 C.F.R. § 105.66 originally included “terms such as low calorie, ‘reduced

calorie,’ and ‘sugar free,’ which were thought to be useful attributes of a food in the maintenance

or reduction of body weight.” 56 Fed. Reg. 229, 60421 at 60457, Food Labeling: Nutrient Content

Claims, General Principles, Petitions, Definition of Terms (Nov. 7, 1991) (21 CFR Parts 5, 101,

and 105); FDA, Guidance for Industry and FDA: Dear Manufacturer Letter Regarding Sugar Free

Claims, Sept. 2007 (“FDA has historically taken the position that consumers may associate claims

regarding the absence of sugar with weight control and with foods that are low calorie or that have

been altered to reduce calories significantly.”).

       21.    As “maintaining a healthy body weight became more scientifically supported and

accepted as public health and individual goals, it was no longer accurate that they [lower and

reduced sugar foods] be described in connection with “special dietary uses.” 56 Fed. Reg. 229,

                                                    5
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 6 of 17 PageID #: 6



60421 at 60457 (“Consequently, the agency is proposing to place requirements for terms such as

"low" and "reduced calorie," comparative claims, and sugar claims, originally provided for in §

105.66, in § 101.60”).

           22.    The purpose of nutrient content claims for sugar is to prevent consumers from being

misled as to a product’s sugar content. 21 C.F.R. § 101.60(c)(1).

           23.    These regulations set the boundaries of when “[A] claim about the calorie or sugar

content of a food may [only] be made on the label.” 21 C.F.R. § 101.60(a).

           24.    The FDA has authorized claims for the absence of sugar and calories (“no sugar,”

“calorie free”) and relative amount of calories and sugar (“fewer calories,” “less sugar”), but not

“low sugar.”

                                        Calorie Claims11     Sugar Claims12
                             Absence    No Calories          No Sugar
                             Relative   Fewer Calories       Less Sugar
                             Low        Low Calories         X

           25.    Because “low sugar” claims have never been authorized, they are prohibited. 58 Fed.

Reg. 2302, 2368 (“The agency stated that under the provisions of the statute, such implied claims

are prohibited until they are defined by FDA by regulation.”).

           26.    The FDA has issued warning letters to companies making “low sugar” claims:

           The labeling for your "Fruit of the Spirit" product, located on the website [url
           omitted] contains the nutrient content claim "Low sugar." While FDA has defined
           some nutrient content claims for sugar in 21 CFR 101.60(c), FDA has not defined
           "Low sugar"; therefore, the use of this claim misbrands your product under section
           403(r)(1)(A) of the Act. The claim "lower sugar" may be used…”)

             FDA Warning Letter to CK Management, Inc., May 19, 2015



11
     21 C.F.R. § 101.60(b)
12
     21 C.F.R. § 101.60(c)
                                                      6
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 7 of 17 PageID #: 7



IV.    Products Make Misleading Sugar Claims

       27.   When consumers observe the Products’ front-label representations which highlight

the “Slightly Sweetened” claim, they will reasonably believe the Products are lower in sugar and

added sugar than they are.

       28.   However, the Nutrition Facts reveal the Products contain 24 grams of sugar, which

is entirely added sugar.




       29.   Far from being “slightly sweetened” and low in sugar, sugar is the second most

predominant ingredient in the Product by weight.




          TEA (FILTERED WATER, BREWED TEA CONCENTRATE), SUGAR,
          NATURAL FLAVORS, CARAMEL COLOR, PHOSPHORIC ACID.

       30.   Consumption of the Products provides 47 percent of the daily value for added sugars

even though they contain only 90 calories.

                                               7
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 8 of 17 PageID #: 8



           31.    This leaves the average person who wishes to follow the DGA to consume no more

than 26 grams of sugar across 1,910 calories (2,000 calories – 90 calories).

           32.    It will be difficult to impossible for the average, reasonable consumer to not consume

more than 26 grams of sugar in everything else they eat or drink because many foods and beverages

have added sugars, albeit in much smaller amounts than the Products.

           33.    Given that most Americans have limited numeracy skills, it is not feasible to ensure

no more than 26 grams of sugar are consumed, because this would entail detailed calculations after

each food to see how many calories and added grams of sugar they should take in.

           34.    To represent a product as “slightly sweetened” that contains almost half of

recommended daily added sugar intake poses “a specific risk of harm to consumers seeking to

lower their sugar consumption, including those with diet-related diseases, such as Type 2

diabetes.13

           35.    The front label statements other than “Slightly Sweetened” “Sweetened with 50%

Less Sugar Than Our Sweet Tea*” and “90 Calories Per Bottle” – fail to cure the misleading

message consumers get.




           36.    Merely because the Products contain “less sugar” than other tea products of the same

brand does not mean they are “low sugar” as understood based on the “slightly sweetened” claim.

           37.    Even if the Products are authorized to make a relative sugar claim, it is still



13
     CSPI Letter, supra citing FDA.
                                                     8
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 9 of 17 PageID #: 9



misleading to do so since a relative claim fails to disclose material facts about the overall sugar

and added sugar.

       38.    No requirement exists to compel the Products to represent or allude to their sugar

content through the term “Slightly Sweetened” on the front label, as opposed to the requirement it

be present in the Nutrition Facts, so added sugar can be viewed next to the percent DV.

       39.    Moreover, the disclosure of calories for the bottle on the front does not tell consumers

how much of those calories are from added sugars, which would be all of them.

       40.    Because the Products are promoted as “slightly sweetened” (“low sugar”) and not

“no sugar” or “sugar free,” it falls outside of claims considered by the relevant authorities.


V.     Conclusion

       41.    Defendant’s branding and packaging of the Products are designed to – and do –

deceive, mislead, and defraud consumers.

       42.    Had plaintiff and class members known the truth, they would not have bought the

Product or would have paid less for it.

       43.    Defendant’s false, deceptive, and misleading branding and packaging of the Product

has enabled defendant to sell more of the Product and at higher prices per unit, than it would have

in the absence of this misconduct, resulting in additional profits at the expense of consumers.

       44.    The value of the Product that plaintiff actually purchased and consumed was

materially less than its value as represented by defendant.

       45.    Had plaintiff and class members known the truth, they would not have bought the

Product or would have paid less for it.

       46.    The Product contains other representations which are misleading and deceptive.

       47.    As a result of the false and misleading labeling, the Product is sold at a premium

                                                  9
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 10 of 17 PageID #: 10



price, approximately no less than $2.99 per unit, excluding tax, compared to other similar products

represented in a non-misleading way.


VI.    Conclusion

       48.   Defendant’s branding and packaging of the Products are designed to – and does –

deceive, mislead, and defraud consumers.

       49.   Defendant has sold more of the Products and at higher prices per unit than it would

have in the absence of this misconduct, resulting in additional profits at the expense of consumers.

       50.   The amount of sugar or other caloric sweetening ingredients has a material bearing

on price or consumer acceptance of the Products because their absence causes consumers to pay

more for such Products.

       51.   The value of the Product that plaintiff purchased and consumed was materially less

than its value as represented by defendant.

       52.   Had plaintiffs and class members known the truth, they would not have bought the

Products or would have paid less for it.

       53.   The Product contains other representations which are misleading and deceptive.

       54.   As a result of the false and misleading labeling, the Product is sold at a premium

price, approximately no less than $2.99 per unit, excluding tax, compared to other similar products

represented in a non-misleading way.

                                      Jurisdiction and Venue


       55.   Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2) (Class Action Fairness Act

of 2005 or “CAFA”).

       56.   Under CAFA, district courts have “original federal jurisdiction over class actions


                                                10
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 11 of 17 PageID #: 11



involving (1) an aggregate amount in controversy of at least $5,000,000; and (2) minimal

diversity[.]" Gold v. New York Life Ins. Co., 730 F.3d 137, 141 (2d Cir. 2013).

        57.   Upon information and belief, the aggregate amount in controversy is more than

$5,000,000.00, exclusive of interests and costs.

        58.   Plaintiff is a citizen of New York.

        59.   Defendant is a Delaware corporation with a principal place of business in Atlanta,

Fulton County, Georgia and is a citizen of Georgia.

        60.   This court has personal jurisdiction over defendant because it conducts and transacts

business, contracts to provide and/or supply and provides and/or supplies services and/or goods

within New York.

        61.   Venue is proper because plaintiff and many class members reside in this District and

defendant does business in this District and State.

        62.   A substantial part of events and omissions giving rise to the claims occurred in this

District.

                                                   Parties

        63.   Plaintiff is a citizen of Flushing, Queens County, New York.

        64.   Defendant The Coca-Cola Company is a Delaware corporation with a principal place

of business in Atlanta, Georgia, Fulton County.

        65.   During the relevant statutes of limitations, plaintiff purchased the Product within this

district and/or State for personal consumption in reliance on the representations.

                                         Class Allegations


        66.   The classes will consist of all purchasers of the Products in New York, the other 49

states and a nationwide class where applicable, during the applicable statutes of limitations.

                                                    11
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 12 of 17 PageID #: 12



       67.    Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiff and class members are entitled to damages.

       68.    Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

       69.    Plaintiff is an adequate representative because her interests do not conflict with other

members.

       70.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       71.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       72.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to adequately and fairly protect class members’ interests.

       73.    Plaintiff seeks class-wide injunctive relief because the practices continue.

                                       New York GBL §§ 349 & 350
                                 (Consumer Protection from Deceptive Acts)

       74.    Plaintiff incorporates by reference all preceding paragraphs.

       75.    Plaintiff and class members desired to purchase, consume and use products or

services which were as described and marketed by defendant and expected by reasonable

consumers, given the product or service type.

       76.    Defendant’s acts and omissions are not unique to the parties and have a broader

impact on the public.

       77.    Defendant’s conduct was misleading, deceptive, unlawful, fraudulent, and unfair

because it gives the impression to consumers the Products are low in sugar when they have

significant amounts of added sugar and make it difficult for consumers to follow the Dietary
                                                 12
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 13 of 17 PageID #: 13



Guidelines for Americans to restrict calories from added sugars and to consume beverages that are

actually low in sugar.

       78.      Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                         Negligent Misrepresentation

       79.      Plaintiff incorporates by reference all preceding paragraphs.

       80.      Defendant misrepresented the substantive, quality, compositional, organoleptic

and/or nutritional attributes of the Products through representing they are low in sugar when they

have significant amounts of added sugar and make it difficult for consumers to follow the Dietary

Guidelines for Americans to restrict calories from added sugars and to consume beverages that are

actually low in sugar.

       81.      Defendant had a duty to disclose and/or provide non-deceptive marketing of the

Products and knew or should have known same were false or misleading.

       82.      This duty is based on defendant’s position as an entity which has held itself out as

having special knowledge and experience in the production, service and/or sale of the product or

service type.

       83.      The representations took advantage of consumers’ (1) cognitive shortcuts made at

the point-of-sale and (2) trust placed in defendant, a well-known and respected brand in this sector.

       84.      Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, the purchase of the

Products.

       85.      Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                                  13
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 14 of 17 PageID #: 14



             Breaches of Express Warranty, Implied Warranty of Merchantability and
                   Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       86.    Plaintiff incorporates by reference all preceding paragraphs.

       87.    Defendant manufactures and sells Products that give the impression they are low in

sugar when they have significant amounts of added sugar and make it difficult for consumers to

follow the Dietary Guidelines for Americans to restrict calories from added sugars and to consume

beverages that are actually low in sugar.

       88.    The Products warranted to plaintiff and class members that they possessed

substantive, functional, nutritional, qualitative, compositional, organoleptic, sensory, physical and

other attributes which they did not.

       89.    Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Products.

       90.    This duty is based, in part, on defendant’s position as one of the most recognized

companies in the nation in this sector.

       91.    Plaintiff provided or will provide notice to defendant, its agents, representatives,

retailers and their employees.

       92.    Defendant had received or should have been aware of the misrepresentations due to

numerous complaints by consumers to its main office over the past several years.

       93.    The Products did not conform to their affirmations of fact and promises due to

defendant’s actions and were not merchantable.

       94.    Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                              Fraud



                                                 14
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 15 of 17 PageID #: 15



       95.    Plaintiff incorporates by references all preceding paragraphs.

       96.    Defendant represented the Products are low in sugar when they have significant

amounts of added sugar and make it difficult for consumers to follow the Dietary Guidelines for

Americans to restrict calories from added sugars and to consume beverages that are actually low

in sugar.

       97.    Defendant’s fraudulent intent is evinced by its failure to accurately identify the

Products on the front label.

       98.    Plaintiff and class members would not have purchased the Products or paid as much

if the true facts had been known, suffering damages.

                                            Unjust Enrichment

       99.    Plaintiff incorporates by reference all preceding paragraphs.

       100. Defendant obtained benefits and monies because the Products were not as

represented and expected, to the detriment and impoverishment of plaintiff and class members,

who seek restitution and disgorgement of inequitably obtained profits.

                                   Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying Plaintiff as representative and undersigned

       as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, restitution and disgorgement for members of the State Subclasses pursuant


                                                  15
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 16 of 17 PageID #: 16



      to the applicable laws of their States;

   4. Awarding monetary damages and interest, including treble and punitive damages, pursuant

      to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

      experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: February 8, 2020
                                                              Respectfully submitted,

                                                              Sheehan & Associates, P.C.
                                                              /s/Spencer Sheehan
                                                              Spencer Sheehan
                                                              505 Northern Blvd Ste 311
                                                              Great Neck NY 11021-5101
                                                              Telephone: (516) 303-0552
                                                              Fax: (516) 234-7800
                                                              spencer@spencersheehan.com
                                                              E.D.N.Y. # SS-8533
                                                              S.D.N.Y. # SS-2056

                                                              Reese LLP
                                                              Michael R. Reese
                                                              100 West 93rd Street, 16th Floor
                                                              New York, NY 10025
                                                              Telephone: (212) 643-0500
                                                              Facsimile: (212) 253-4272
                                                              mreese@reesellp.com




                                                16
Case 1:20-cv-00711-PKC-PK Document 1 Filed 02/08/20 Page 17 of 17 PageID #: 17



1:20-cv-00711
United States District Court
Eastern District of New York

Monique Salerno, individually and on behalf of all others similarly situated,


                                         Plaintiff,


        - against -


The Coca-Cola Company,


                                         Defendant




                                           Complaint



                       Sheehan & Associates, P.C.
                        505 Northern Blvd Ste 311
                         Great Neck NY 11021-5101
                            Tel: (516) 303-0552
                            Fax: (516) 234-7800




Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: February 8, 2020
                                                                         /s/ Spencer Sheehan
                                                                          Spencer Sheehan
